           Case 2:18-cv-01115-RSL Document 186-1 Filed 05/24/19 Page 1 of 2



 1                                                                    The Honorable Robert S. Lasnik

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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE

 9   STATE OF WASHINGTON, et al.                       NO. 2:18-cv-01115-RSL

10                          Plaintiffs,                SECOND DECLARATION OF KRISTIN
                                                       BENESKI IN SUPPORT OF PLAINTIFF
11          v.                                         STATES’ MOTION FOR SUMMARY
                                                       JUDGEMENT
12   UNITED STATES DEPARTMENT OF
     STATE, et al.,
13
                            Defendants.
14

15          I, Kristin Beneski, declare as follows:

16          1.      I am over the age of 18 and have personal knowledge of all the facts stated herein.

17          2.      I am an Assistant Attorney General with the Washington State Attorney General’s

18   Office, which represents the State of Washington in this matter.

19          3.      Attached hereto as Exhibit O is a true and correct copy of a letter I sent to counsel

20   for the Federal Defendants on April 25, 2019.

21          4.      Attached hereto as Exhibits P–Y are true and correct copies of excerpts of the

22   Supplemental Filing of Materials (Dkt. # 158) (“Supplemental Record”) and the Revised

23   Supplement to Administrative Record (Dkt. # 184) (“Revised Second Supplement”), in which

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       SECOND DECLARATION OF KRISTIN                     1                ATTORNEY GENERAL OF WASHINGTON
                                                                               800 Fifth Avenue. Suite 2000
       BENESKI                                                                   Seattle, WA 98104-3188
       2:18-cv-01115-RSL                                                              (206) 464-7744
           Case 2:18-cv-01115-RSL Document 186-1 Filed 05/24/19 Page 2 of 2



 1   the portions cited in the Plaintiff States’ Combined Reply in Support of Motion for Summary

 2   Judgment and Opposition to Defendants’ Cross-Motions for Summary Judgment have been

 3   highlighted.

 4       I declare under penalty of perjury that the foregoing is true and correct.

 5          DATED this 24th day of May, 2019 at Seattle, Washington.

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 7                                                /s/ Kristin Beneski
                                                  KRISTIN BENESKI
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       SECOND DECLARATION OF KRISTIN                    2                ATTORNEY GENERAL OF WASHINGTON
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